793 F.2d 1293
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.GREGORY SMITH and CORNELL CHRISTIAN, Plaintiffs-Appellants,v.HERMAN C. DAVIS, J.M. SPILLER, DANNY BOOKER, AND MICKEYMOORE, Defendants-Appellees.
    86-5169
    United States Court of Appeals, Sixth Circuit.
    5/5/86
    
      APPEAL DISMISSED
      W.D.Tenn.
      ORDER
      BEFORE:  ENGEL, CONTIE and MILBURN, Circuit Judges.
    
    
      1
      This appeal has been referred to this panel of the Court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      A review of the record indicates that the decision of the district court was entered January 7, 1986.  A Rule 59(e), Federal Rules of Civil Procedure, motion to reconsider was timely served on January 15, 1986, and tolled the appeals period.  Rule 4(a)(4), Federal Rules of Appellate Procedure.  The record reflects that at the time the February 3, 1986, notice of appeal was filed that a ruling had not yet been made on the motion to reconsider.  Rule 4(a)(4), Federal Rules of Appellate Procedure, provides that a notice of appeal filed before the disposition of a timely Rule 59(e) motion 'shall have no effect.  A new notice of appeal must be filed within the prescribed time measured from the entry of the order disposing of the motion . . ..'  A timely notice of appeal is mandatory and jurisdictional.  Griggs v. Provident Consumer Discount Co., 459 U.S. 56 (1982); Browder v. Director, Department of Corrections, 434 U.S. 257 (1978).
    
    
      3
      It is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction due to a premature notice of appeal.
    
    